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                          EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


  CODE-TO-LEARN FOUNDATION D/B/A
  SCRATCH FOUNDATION
  7315 Wisconsin Avenue, 4th Floor
  West Bethesda, MD 20814
                                                       Case No. 1:19-cv-00067-LO-MSN
         Plaintiff
                 vs.

  SCRATCH.ORG, an Internet domain name.

         Defendant.

           DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S

                             FIRST SET OF INTERROGATORIES

        Pursuant to Federal Rule of Civil Procedure 33 and Eastern District of Virginia Local

 Rule 26(C), Defendant Scratch.org (“Defendant”) hereby serves its responses objections to

 Plaintiff Code-to-Learn Foundation d/b/a Scratch Foundation’s (“Plaintiff”) First Set of

 Interrogatories (the “Interrogatory” or “Interrogatories”), as follows:
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 INTERROGATORY NO. 10:

        Identify all domain names presently or previously owned or used by the owner of the

 SCRATCH.ORG domain name, and for each, itemize in the chart below (adding more boxes as

 applicable) the revenues that the owner has obtained from each identified domain name and the

 use of each domain name, and identify by Bates Numbers (from SCRATCH.ORG’s document

 production) all documents reflecting or describing such information.
  Domain Name       Use of Domain Date Range              Gross Amount      Bates Numbers of
                    Name                                  Received          Documents
                                                                            Reflecting this
                                                                            Information

  1.
  2.
  3.

 RESPONSE TO INTERROGATORY NO. 10:

        Defendant objects to this Interrogatory to the extent that it calls for information that is

 protected by the attorney-client privilege or the work product doctrine. Defendant further objects
 to the requests related to the use of and gross amount received from these domain names because

 such information is not reasonably calculated to lead to the discovery of admissible evidence.
        Subject to and without waving any objection, Defendant responds as follows:
        Pursuant Federal Rule of Civil Procedure 33(d), Defendant will produce business records
 detailing his domain name holdings. The following documents refer to the above answer: A
 comprehensive record detailing Defendant’s domain name holdings. These responses will be
 supplemented with bates numbers once Defendant’s document production has been assembled.
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 Dated: September 13, 2019          Respectfully submitted,


                                                             _____
                                    David Ludwig (VSB No. 73157)
                                    DUNLAP BENNETT & LUDWIG PLLC
                                    211 Church Street SE
                                    Leesburg Virginia 20175
                                    (703) 777-7319 (telephone)
                                    (703) 777-3656 (facsimile)
                                    dludwig@dbllawyers.com

                                    ATTORNEY FOR SCRATCH.ORG
Case 1:19-cv-00067-LO-MSN Document 54-1 Filed 09/20/19 Page 5 of 56 PageID# 590



                                 CERTIFICATE OF SERVICE

        I certify that today, September 13, 2019, I served the foregoing via email and first class

 mail to the following:

                               Attison L. Barnes, III (VSB #30458)
                               David E. Weslow
                               Adrienne J. Kosak (VSB #78631)
                               Wiley Rein LLP
                               1776 K St. NW
                               Washington, DC 20006
                               abarnes@wileyrein.com

                               COUNSEL FOR PLAINTIFF




                                                                                 ____
                                                      David Ludwig (VSB No. 73157)
                                                      DUNLAP BENNETT & LUDWIG PLLC
                                                      211 Church Street SE
                                                      Leesburg Virginia 20175
                                                      (703) 777-7319 (telephone)
                                                      (703) 777-3656 (facsimile)
                                                      dludwig@dbllawyers.com

                                                      ATTORNEY FOR SCRATCH.ORG
Case 1:19-cv-00067-LO-MSN Document 54-1 Filed 09/20/19 Page 6 of 56 PageID# 591




                         EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 __________________________________________
 CODE-TO-LEARN FOUNDATION D/B/A             )
 SCRATCH FOUNDATION,                        )
                                            )
       Plaintiff,                           )
                                            )              Civil Action No. 1:19-cv-67-LO-MSN
 v.                                         )
                                            )
 SCRATCH.ORG, an Internet domain name,      )
                                            )
       Defendant.                           )
 __________________________________________)

          SCRATCH.ORG’S OBJECTIONS AND RESPONSES TO PLAINTIFF
          CODE-TO-LEARN FOUNDATION D/B/A SCRATCH FOUNDATION’S
         FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND THINGS
        Pursuant to Federal Rule of Civil Procedure 34 and Eastern District of Virginia Local

 Rule 26(C), Defendant Scratch.org (“Defendant”) hereby serves its objections to Plaintiff Code-

 to-Learn Foundation d/b/a Scratch Foundation’s (“Plaintiff”) First Set of Requests for Production

 of Documents and Things (the “Request” or “Requests”), as follows:

                        SPECIFIC OBJECTIONS AND RESPONSES




                                                 1
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 REQUEST FOR PRODUCTION NO. 25:

        Produce documents sufficient to demonstrate all revenue generated by domain

 names owned or operated by the registrant(s) or owner(s) of SCRATCH.ORG.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
        Defendant objects to this Interrogatory to the extent that it calls for information that is

 protected by the attorney-client privilege or the work product doctrine. Defendant further objects

 to the requests related to the use of and gross amount received from these domain names because

 such information is not reasonably calculated to lead to the discovery of admissible evidence.

        Subject to and without waving any objection, Defendant responds as follows: Defendant

 will produce responsive, relevant, non-privileged, non-attorney work product documents in its

 possession, custody or control that can be located after a reasonable search.

 REQUEST FOR PRODUCTION NO. 26:

        Produce documents sufficient to demonstrate the means by which the registrant(s)

 or owner(s) of SCRATCH.ORG generate revenue through ownership of or operation of a

 website associated with any domain name.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

        Defendant objects to this Interrogatory to the extent that it calls for information that is

 protected by the attorney-client privilege or the work product doctrine. Defendant further objects

 to the requests related to the use of and gross amount received from these domain names because

 such information is not reasonably calculated to lead to the discovery of admissible evidence.

                                                  10
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        Subject to and without waving any objection, Defendant responds as follows:

 Defendant will produce responsive, relevant, non-privileged, non-attorney work product

 documents in its possession, custody or control that can be located after a reasonable search.




                                                 11
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  DATED: September 13, 2019

                                            By: ______________________
                                            David Ludwig (VSB No. 73157)
                                            DUNLAP BENNETT & LUDWIG PLLC
                                            211 Church Street SE
                                            Leesburg Virginia 20175
                                            (703) 777-7319 (telephone)
                                            (703) 777-3656 (facsimile)
                                            dludwig@dbllawyers.com

                                       13
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                                            ATTORNEY FOR SCRATCH.ORG




                                       14
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2019, a true copy of the foregoing Requests for

  Production of Documents were served on the following via email and first class mail to:


                                       Attison L. Barnes, III
                                       WILEY REIN LLP
                                       1776 K Street, NW
                                       Washington, DC 20006
                                       Tel: (202) 719-7000
                                       Fax: (202) 719-7049
                                       abarnes@wileyrein.com
                                       Counsel for Plaintiff Code-To-Learn
                                       Foundation d/b/a Scratch Foundation




                                                      By: ______________________
                                                      David Ludwig (VSB No. 73157)
                                                      DUNLAP BENNETT & LUDWIG PLLC
                                                      211 Church Street SE
                                                      Leesburg Virginia 20175
                                                      (703) 777-7319 (telephone)
                                                      (703) 777-3656 (facsimile)
                                                      dludwig@dbllawyers.com

                                                      ATTORNEY FOR SCRATCH.ORG




                                                 15
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                           EXHIBIT C
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domain               registrar
freakymail.com       1&1 INTERNET SE
blazed.com           1API GMBH
bigrisk.com          22NET, INC
fastshipper.com      ANNULET LLC
vivoras.com          ANNULET LLC
quickbidders.com     ANNULET, INC
boyfrenzy.com        BELMONTDOMAINS.COM LLC
corruptme.com        BEST DROP NAMES LLC
hotsister.com        BRENNERCOM LIMITED
panochita.com        CLOUDBREAKDOMAINS, LLC
esclavos.com         CLOUDNINEDOMAIN, LLC
cheapbitches.com     CRONON AG
bigsuckers.com       DOMAIN BAZAAR LLC
buttfuckin.com       DOMAIN.COM, LLC
hotpayout.com        DOMAIN.COM, LLC
titvideo.com         DOMAIN.COM, LLC
yeababy.com          DOMAINCAPITAN.COM LLC
buriedcash.com       DOMAINGAZELLE.COM LLC
climaxcity.com       DOMAINLOCAL LLC
internetdomains.us   DOMAINSITE.COM, INC
ultraaction.com      DOMAINWARDS.COM LLC
wickedass.com        DROPCATCH.COM 1017 LLC
littlehoe.com        DROPCATCH.COM 1018 LLC
killeveryone.com     DROPCATCH.COM 1031 LLC
buttlicks.com        DROPCATCH.COM 1204 LLC
mediumsize.com       DROPCATCH.COM 392 LLC
expressmovie.com     DROPCATCH.COM 507 LLC
poopstore.com        DROPCATCH.COM 507 LLC
hotbuck.com          DROPCATCH.COM 512 LLC
superdirty.com       DROPCATCH.COM 550 LLC
kinkynurse.com       DROPCATCH.COM 609 LLC
hotbrothers.com      DROPCATCH.COM 611 LLC
fillsmart.com        DROPCATCH.COM 635 LLC
dailypix.com         DROPCATCH.COM 646 LLC
mychica.com          DROPCATCH.COM 647 LLC
fastmoola.com        DROPCATCH.COM 658 LLC
quickbidder.com      DROPCATCH.COM 664 LLC
pinupmag.com         DROPCATCH.COM 703 LLC
manorgy.com          DROPCATCH.COM 742 LLC
hard-wired.com       DROPCATCH.COM 749 LLC
mp3list.com          DROPCATCH.COM 765 LLC
urweird.com          DROPCATCH.COM 770 LLC
spycoin.com          DROPCATCH.COM 777 LLC
toolmail.com         DROPCATCH.COM 830 LLC
peesearch.com        DROPCATCH.COM 835 LLC
esclavas.com         DROPCATCH.COM 856 LLC
clownworld.com       DROPCATCH.COM 931 LLC



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domain               registrar
playfreely.com       DROPCATCH.COM 953 LLC
hotbrother.com       DROPCATCH.COM 954 LLC
kinkycafe.com        DROPCATCH.COM 960 LLC
awshit.com           DYNADOT, LLC
freecodes.net        DYNADOT, LLC
freesucka.com        DYNADOT, LLC
soundbodies.com      DYNADOT, LLC
testmy.com           DYNADOT, LLC
5guys.com            DYNADOT, LLC
a1profit.com         DYNADOT, LLC
addname.com          DYNADOT, LLC
adultsarea.com       DYNADOT, LLC
agentmail.com        DYNADOT, LLC
amantes.com          DYNADOT, LLC
among.com            DYNADOT, LLC
avoided.com          DYNADOT, LLC
babbled.com          DYNADOT, LLC
babetown.com         DYNADOT, LLC
backfired.com        DYNADOT, LLC
backview.com         DYNADOT, LLC
badacne.com          DYNADOT, LLC
badhouse.com         DYNADOT, LLC
badlife.com          DYNADOT, LLC
badnurse.com         DYNADOT, LLC
badsearch.com        DYNADOT, LLC
badtown.com          DYNADOT, LLC
badville.com         DYNADOT, LLC
baffle.com           DYNADOT, LLC
barelylit.com        DYNADOT, LLC
basura.com           DYNADOT, LLC
becareful.com        DYNADOT, LLC
bettercuts.com       DYNADOT, LLC
bevelled.com         DYNADOT, LLC
bigbehind.com        DYNADOT, LLC
bigdemand.com        DYNADOT, LLC
bigpayoffs.com       DYNADOT, LLC
bigwoop.com          DYNADOT, LLC
bigwuss.com          DYNADOT, LLC
blackrod.com         DYNADOT, LLC
blitzed.com          DYNADOT, LLC
blowkisses.com       DYNADOT, LLC
bobbit.com           DYNADOT, LLC
bonked.com           DYNADOT, LLC
bornstupid.com       DYNADOT, LLC
bullshittin.com      DYNADOT, LLC
bumrush.com          DYNADOT, LLC
burgershop.com       DYNADOT, LLC



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domain               registrar
bushytails.com       DYNADOT, LLC
buttbeads.com        DYNADOT, LLC
buttermeup.com       DYNADOT, LLC
buttnose.com         DYNADOT, LLC
buttsearch.com       DYNADOT, LLC
buycheaper.com       DYNADOT, LLC
carded.com           DYNADOT, LLC
carsfree.com         DYNADOT, LLC
cashhourly.com       DYNADOT, LLC
cashquote.com        DYNADOT, LLC
casuallook.com       DYNADOT, LLC
chatgold.com         DYNADOT, LLC
cheaplist.com        DYNADOT, LLC
cheapstart.com       DYNADOT, LLC
checkplease.com      DYNADOT, LLC
chicknow.com         DYNADOT, LLC
chickpost.com        DYNADOT, LLC
chillbaby.com        DYNADOT, LLC
choicehits.com       DYNADOT, LLC
choiceshit.com       DYNADOT, LLC
chubbydog.com        DYNADOT, LLC
chuggs.com           DYNADOT, LLC
cleansink.com        DYNADOT, LLC
cliptime.com         DYNADOT, LLC
clubdirty.com        DYNADOT, LLC
clubvp.com           DYNADOT, LLC
cocknballs.com       DYNADOT, LLC
costcity.com         DYNADOT, LLC
courtvideo.com       DYNADOT, LLC
crablover.com        DYNADOT, LLC
crapshoots.com       DYNADOT, LLC
crazyfools.com       DYNADOT, LLC
crazyshows.com       DYNADOT, LLC
creams.com           DYNADOT, LLC
crook.com            DYNADOT, LLC
cummom.com           DYNADOT, LLC
dangcheap.com        DYNADOT, LLC
darkflower.com       DYNADOT, LLC
darkhaired.com       DYNADOT, LLC
dealchaser.com       DYNADOT, LLC
dealerz.com          DYNADOT, LLC
dealhut.com          DYNADOT, LLC
deallover.com        DYNADOT, LLC
delegated.com        DYNADOT, LLC
demoted.com          DYNADOT, LLC
destructive.com      DYNADOT, LLC
dirtweed.com         DYNADOT, LLC



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domain               registrar
dirtycd.com          DYNADOT, LLC
dirtylatina.com      DYNADOT, LLC
dirtylatinas.com     DYNADOT, LLC
dirtylies.com        DYNADOT, LLC
dirtymove.com        DYNADOT, LLC
dirtymoves.com       DYNADOT, LLC
dirtyone.com         DYNADOT, LLC
dirtypage.com        DYNADOT, LLC
dogfarm.com          DYNADOT, LLC
doggyclub.com        DYNADOT, LLC
doggypoo.com         DYNADOT, LLC
doitfree.com         DYNADOT, LLC
doodiehead.com       DYNADOT, LLC
doodyhead.com        DYNADOT, LLC
doublekiss.com       DYNADOT, LLC
dreamdeals.com       DYNADOT, LLC
dreamkiss.com        DYNADOT, LLC
dribbled.com         DYNADOT, LLC
dummytest.com        DYNADOT, LLC
easyshots.com        DYNADOT, LLC
easyviewer.com       DYNADOT, LLC
economized.com       DYNADOT, LLC
electricchat.com     DYNADOT, LLC
eliminated.com       DYNADOT, LLC
emailnude.com        DYNADOT, LLC
escalated.com        DYNADOT, LLC
extradirty.com       DYNADOT, LLC
extradough.com       DYNADOT, LLC
ezcheat.com          DYNADOT, LLC
famousmail.com       DYNADOT, LLC
fashionably.com      DYNADOT, LLC
fastdrugs.com        DYNADOT, LLC
fastflicks.com       DYNADOT, LLC
fastround.com        DYNADOT, LLC
fasttalking.com      DYNADOT, LLC
fastviagra.com       DYNADOT, LLC
fatking.com          DYNADOT, LLC
fatsalary.com        DYNADOT, LLC
faxright.com         DYNADOT, LLC
feedz.com            DYNADOT, LLC
feelclean.com        DYNADOT, LLC
fightsback.com       DYNADOT, LLC
findchicks.com       DYNADOT, LLC
findclues.com        DYNADOT, LLC
findjpg.com          DYNADOT, LLC
finebride.com        DYNADOT, LLC
finerear.com         DYNADOT, LLC



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domain               registrar
finerears.com        DYNADOT, LLC
fishstop.com         DYNADOT, LLC
fixdepot.com         DYNADOT, LLC
flako.com            DYNADOT, LLC
flattires.com        DYNADOT, LLC
flingmail.com        DYNADOT, LLC
flogged.com          DYNADOT, LLC
fogged.com           DYNADOT, LLC
fonefreak.com        DYNADOT, LLC
footfucks.com        DYNADOT, LLC
forgivers.com        DYNADOT, LLC
fotovoting.com       DYNADOT, LLC
foxgallery.com       DYNADOT, LLC
fratbrats.com        DYNADOT, LLC
freeburger.com       DYNADOT, LLC
freechest.com        DYNADOT, LLC
freecocktail.com     DYNADOT, LLC
freecola.com         DYNADOT, LLC
freefeel.com         DYNADOT, LLC
freeinsult.com       DYNADOT, LLC
freejunky.com        DYNADOT, LLC
freekin.com          DYNADOT, LLC
freenut.com          DYNADOT, LLC
freereply.com        DYNADOT, LLC
freerush.com         DYNADOT, LLC
freeshock.com        DYNADOT, LLC
freeslam.com         DYNADOT, LLC
freestripper.com     DYNADOT, LLC
freetrick.com        DYNADOT, LLC
freevan.com          DYNADOT, LLC
freevip.com          DYNADOT, LLC
freewash.com         DYNADOT, LLC
freewaysigns.com     DYNADOT, LLC
freshsalad.com       DYNADOT, LLC
friskydog.com        DYNADOT, LLC
frontwindow.com      DYNADOT, LLC
frostedglass.com     DYNADOT, LLC
fuckboobs.com        DYNADOT, LLC
fuckbooth.com        DYNADOT, LLC
fuckherhard.com      DYNADOT, LLC
fuckinglosers.com    DYNADOT, LLC
fuckone.com          DYNADOT, LLC
fullsizes.com        DYNADOT, LLC
funkydog.com         DYNADOT, LLC
furnishme.com        DYNADOT, LLC
furrows.com          DYNADOT, LLC
gagsite.com          DYNADOT, LLC



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domain                registrar
gayflirt.com          DYNADOT, LLC
getcrap.com           DYNADOT, LLC
ghettobitch.com       DYNADOT, LLC
girlcorner.com        DYNADOT, LLC
girlieboy.com         DYNADOT, LLC
girlieclub.com        DYNADOT, LLC
girlwanted.com        DYNADOT, LLC
gleamed.com           DYNADOT, LLC
goodbabe.com          DYNADOT, LLC
goodbargain.com       DYNADOT, LLC
goodclip.com          DYNADOT, LLC
goodcontent.com       DYNADOT, LLC
goodluv.com           DYNADOT, LLC
goodrate.com          DYNADOT, LLC
gordito.com           DYNADOT, LLC
gothbitch.com         DYNADOT, LLC
gottaparty.com        DYNADOT, LLC
grannyflix.com        DYNADOT, LLC
greatbond.com         DYNADOT, LLC
greatchest.com        DYNADOT, LLC
greatfloor.com        DYNADOT, LLC
greatfolks.com        DYNADOT, LLC
greatloves.com        DYNADOT, LLC
grosscam.com          DYNADOT, LLC
guypost.com           DYNADOT, LLC
happened.com          DYNADOT, LLC
harmed.com            DYNADOT, LLC
hbcars.com            DYNADOT, LLC
hbcarwash.com         DYNADOT, LLC
honker.com            DYNADOT, LLC
honkie.com            DYNADOT, LLC
horded.com            DYNADOT, LLC
hornypig.com          DYNADOT, LLC
horseass.com          DYNADOT, LLC
hotflavor.com         DYNADOT, LLC
hotintern.com         DYNADOT, LLC
hotinterns.com        DYNADOT, LLC
hotnames.net          DYNADOT, LLC
hotrecord.com         DYNADOT, LLC
hottypics.com         DYNADOT, LLC
hugeoffer.com         DYNADOT, LLC
illpass.com           DYNADOT, LLC
iluvcum.com           DYNADOT, LLC
instachat.com         DYNADOT, LLC
internetdomains.org   DYNADOT, LLC
intruso.com           DYNADOT, LLC
itsdown.com           DYNADOT, LLC



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domain               registrar
jackslap.com         DYNADOT, LLC
jerkie.com           DYNADOT, LLC
jumpstarted.com      DYNADOT, LLC
keepchest.com        DYNADOT, LLC
kiddiepools.com      DYNADOT, LLC
killa.com            DYNADOT, LLC
knockedup.com        DYNADOT, LLC
laidup.com           DYNADOT, LLC
lapsed.com           DYNADOT, LLC
largebids.com        DYNADOT, LLC
latinotown.com       DYNADOT, LLC
laughfarm.com        DYNADOT, LLC
leanest.com          DYNADOT, LLC
leans.com            DYNADOT, LLC
leaveme.com          DYNADOT, LLC
levitated.com        DYNADOT, LLC
limoparty.com        DYNADOT, LLC
listmysite.com       DYNADOT, LLC
localgirlz.com       DYNADOT, LLC
loneshark.com        DYNADOT, LLC
longercock.com       DYNADOT, LLC
lotsalinks.com       DYNADOT, LLC
lousylover.com       DYNADOT, LLC
lovebuggy.com        DYNADOT, LLC
loveshaft.com        DYNADOT, LLC
luckystop.com        DYNADOT, LLC
lurched.com          DYNADOT, LLC
mailstud.com         DYNADOT, LLC
mailville.com        DYNADOT, LLC
manylinks.com        DYNADOT, LLC
minidog.com          DYNADOT, LLC
moviecams.com        DYNADOT, LLC
mrdonuts.com         DYNADOT, LLC
nagged.com           DYNADOT, LLC
nastigram.com        DYNADOT, LLC
nastygurls.com       DYNADOT, LLC
nastyletter.com      DYNADOT, LLC
nastyvision.com      DYNADOT, LLC
neverused.com        DYNADOT, LLC
nicerear.com         DYNADOT, LLC
niceworkout.com      DYNADOT, LLC
niftydeals.com       DYNADOT, LLC
niftyidea.com        DYNADOT, LLC
nigga.com            DYNADOT, LLC
niggermusic.com      DYNADOT, LLC
noladies.com         DYNADOT, LLC
nuttyworld.com       DYNADOT, LLC



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domain               registrar
ohwow.com            DYNADOT, LLC
openhole.com         DYNADOT, LLC
oralvideos.com       DYNADOT, LLC
ordergoods.com       DYNADOT, LLC
ourlittlegirl.com    DYNADOT, LLC
outfitted.com        DYNADOT, LLC
overcharged.com      DYNADOT, LLC
partsbuy.com         DYNADOT, LLC
partymama.com        DYNADOT, LLC
perfectegg.com       DYNADOT, LLC
phonephun.com        DYNADOT, LLC
photovote.com        DYNADOT, LLC
pickadate.com        DYNADOT, LLC
picofme.com          DYNADOT, LLC
pinkcash.com         DYNADOT, LLC
playdirty.com        DYNADOT, LLC
played.com           DYNADOT, LLC
playnasty.com        DYNADOT, LLC
pokercash.com        DYNADOT, LLC
poopstain.com        DYNADOT, LLC
pornoshoot.com       DYNADOT, LLC
pornsells.com        DYNADOT, LLC
prankvideos.com      DYNADOT, LLC
prickme.com          DYNADOT, LLC
primoshit.com        DYNADOT, LLC
punishher.com        DYNADOT, LLC
punishhim.com        DYNADOT, LLC
purebabe.com         DYNADOT, LLC
puretits.com         DYNADOT, LLC
pussyflix.com        DYNADOT, LLC
putup.com            DYNADOT, LLC
queerbars.com        DYNADOT, LLC
quickcost.com        DYNADOT, LLC
radcar.com           DYNADOT, LLC
radshow.com          DYNADOT, LLC
rambled.com          DYNADOT, LLC
realthrill.com       DYNADOT, LLC
recentpast.com       DYNADOT, LLC
recoups.com          DYNADOT, LLC
relaxers.com         DYNADOT, LLC
rentalnames.com      DYNADOT, LLC
richboy.com          DYNADOT, LLC
roadtested.com       DYNADOT, LLC
saleschart.com       DYNADOT, LLC
scarylinks.com       DYNADOT, LLC
scummy.com           DYNADOT, LLC
seesites.com         DYNADOT, LLC



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domain                registrar
sellmyass.com         DYNADOT, LLC
sellplants.com        DYNADOT, LLC
senos.com             DYNADOT, LLC
serioustits.com       DYNADOT, LLC
sexualact.com         DYNADOT, LLC
sexyfool.com          DYNADOT, LLC
shavencunts.com       DYNADOT, LLC
shavensluts.com       DYNADOT, LLC
shitted.com           DYNADOT, LLC
shittycar.com         DYNADOT, LLC
shittydriver.com      DYNADOT, LLC
shortchange.com       DYNADOT, LLC
shortchanged.com      DYNADOT, LLC
sickocam.com          DYNADOT, LLC
silksuit.com          DYNADOT, LLC
sillybaby.com         DYNADOT, LLC
simpletest.com        DYNADOT, LLC
sistasista.com        DYNADOT, LLC
sitecoding.com        DYNADOT, LLC
skyrocketed.com       DYNADOT, LLC
slowpokes.com         DYNADOT, LLC
slurpme.com           DYNADOT, LLC
smartlocate.com       DYNADOT, LLC
smartmod.com          DYNADOT, LLC
smartupdate.com       DYNADOT, LLC
smellyfish.com        DYNADOT, LLC
smokemail.com         DYNADOT, LLC
smoochers.com         DYNADOT, LLC
snackorama.com        DYNADOT, LLC
sneakthief.com        DYNADOT, LLC
snotnoses.com         DYNADOT, LLC
soldone.com           DYNADOT, LLC
spackled.com          DYNADOT, LLC
spicycajun.com        DYNADOT, LLC
spoofsite.com         DYNADOT, LLC
spotremove.com        DYNADOT, LLC
stagvideo.com         DYNADOT, LLC
startnames.com        DYNADOT, LLC
staytrue.com          DYNADOT, LLC
steadygirl.com        DYNADOT, LLC
stereoscheap.com      DYNADOT, LLC
strungup.com          DYNADOT, LLC
stuntdogs.com         DYNADOT, LLC
sweetsmell.com        DYNADOT, LLC
takesides.com         DYNADOT, LLC
tallguys.com          DYNADOT, LLC
tapelive.com          DYNADOT, LLC



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domain                    registrar
thankme.com               DYNADOT, LLC
thickie.com               DYNADOT, LLC
titsearch.com             DYNADOT, LLC
todaysucks.com            DYNADOT, LLC
tooclose.com              DYNADOT, LLC
toughshot.com             DYNADOT, LLC
trueflair.com             DYNADOT, LLC
types.com                 DYNADOT, LLC
unrewarded.com            DYNADOT, LLC
upthem.com                DYNADOT, LLC
usedcertified.com         DYNADOT, LLC
valuemenu.com             DYNADOT, LLC
vindictive.com            DYNADOT, LLC
vivora.com                DYNADOT, LLC
watchfun.com              DYNADOT, LLC
wealthfree.com            DYNADOT, LLC
weirdfun.com              DYNADOT, LLC
while.com                 DYNADOT, LLC
whitetees.com             DYNADOT, LLC
would.com                 DYNADOT, LLC
wowbaby.com               DYNADOT, LLC
wuss.com                  DYNADOT, LLC
xxxfans.com               DYNADOT, LLC
xxxgossip.com             DYNADOT, LLC
xxxpayout.com             DYNADOT, LLC
yummymail.com             DYNADOT, LLC
zerocalories.com          DYNADOT, LLC
hetrosexuals.com          DYNADOT12 LLC
10daycruise.com           ENOM, INC
420reminder.com           ENOM, INC
badexam.com               ENOM, INC
badmotha.com              ENOM, INC
blessme.com               ENOM, INC
boobflicks.com            ENOM, INC
buyalot.com               ENOM, INC
cablechecker.com          ENOM, INC
cashkings.com             ENOM, INC
catalinabuzz.com          ENOM, INC
catalinadelivery.com      ENOM, INC
catalinadevelopment.com   ENOM, INC
catalinanewspaper.com     ENOM, INC
clubpak.com               ENOM, INC
conas.com                 ENOM, INC
cruisesnow.com            ENOM, INC
cumpute.com               ENOM, INC
cumputes.com              ENOM, INC
debtserased.com           ENOM, INC



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domain                   registrar
drunkhotty.com           ENOM, INC
drunkladies.com          ENOM, INC
easysubmitting.com       ENOM, INC
famouspink.com           ENOM, INC
fatboobies.com           ENOM, INC
fisther.com              ENOM, INC
forbiddensubjects.com    ENOM, INC
freeaccept.com           ENOM, INC
freebargains.net         ENOM, INC
freeboxes.com            ENOM, INC
freecarcash.com          ENOM, INC
freechica.com            ENOM, INC
friendspayhalf.com       ENOM, INC
gratiscarro.com          ENOM, INC
hetrosexual.com          ENOM, INC
heygirl.com              ENOM, INC
inherarms.com            ENOM, INC
internet-domains.com     ENOM, INC
internetdomains.bz       ENOM, INC
internetdomains.name     ENOM, INC
knuckleunder.com         ENOM, INC
lamesites.com            ENOM, INC
learnitvideo.com         ENOM, INC
listadehacer.com         ENOM, INC
listaporhacer.com        ENOM, INC
liters.com               ENOM, INC
littlesite.com           ENOM, INC
liveasians.com           ENOM, INC
loveem.com               ENOM, INC
masssubmission.com       ENOM, INC
microsoft-sucks.com      ENOM, INC
mooddrugs.com            ENOM, INC
mysiterox.com            ENOM, INC
nastyintern.com          ENOM, INC
nastyinterns.com         ENOM, INC
nastysuck.com            ENOM, INC
noobies.com              ENOM, INC
oralvision.com           ENOM, INC
poormansoup.com          ENOM, INC
pornolinkz.com           ENOM, INC
realtorture.com          ENOM, INC
salarycap.com            ENOM, INC
selectplaces.com         ENOM, INC
seriousbidderonly.com    ENOM, INC
seriousbiddersonly.net   ENOM, INC
serve-ads.com            ENOM, INC
sickvoyeur.com           ENOM, INC



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domain                 registrar
skooled.com            ENOM, INC
smogexpress.com        ENOM, INC
specialbulb.com        ENOM, INC
taxcheat.com           ENOM, INC
tightlid.com           ENOM, INC
tittycash.com          ENOM, INC
to-dolist.com          ENOM, INC
top10listing.com       ENOM, INC
toptenbabes.com        ENOM, INC
urged.com              ENOM, INC
vergalarga.com         ENOM, INC
webmailers.com         ENOM, INC
wiredhouses.com        ENOM, INC
1stprize.com           ENOM, INC
69bitches.com          ENOM, INC
900billing.com         ENOM, INC
absorbant.com          ENOM, INC
accessvip.com          ENOM, INC
adpowered.com          ENOM, INC
afterclubs.com         ENOM, INC
ageverifications.com   ENOM, INC
aintbad.com            ENOM, INC
alluded.com            ENOM, INC
americaloves.com       ENOM, INC
annihilations.com      ENOM, INC
areadeadultos.com      ENOM, INC
armorplated.com        ENOM, INC
artsie.com             ENOM, INC
asiagals.com           ENOM, INC
autoblade.com          ENOM, INC
autogratis.com         ENOM, INC
autorepeat.com         ENOM, INC
autotimer.com          ENOM, INC
babystop.com           ENOM, INC
backdown.com           ENOM, INC
backviews.com          ENOM, INC
bacterial.com          ENOM, INC
badacting.com          ENOM, INC
badactors.com          ENOM, INC
badanimal.com          ENOM, INC
badbreaks.com          ENOM, INC
badcold.com            ENOM, INC
badcommand.com         ENOM, INC
badexcuse.com          ENOM, INC
badgrades.com          ENOM, INC
badmom.com             ENOM, INC
badpuppys.com          ENOM, INC



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domain                registrar
badquality.com        ENOM, INC
badslice.com          ENOM, INC
badsouls.com          ENOM, INC
badstorms.com         ENOM, INC
badstreet.com         ENOM, INC
bagelguy.com          ENOM, INC
ballparkfigure.com    ENOM, INC
barespot.com          ENOM, INC
barfed.com            ENOM, INC
basted.com            ENOM, INC
beasty.com            ENOM, INC
beatmail.com          ENOM, INC
beermugs.com          ENOM, INC
begger.com            ENOM, INC
besito.com            ENOM, INC
bestflavor.com        ENOM, INC
bestsubs.com          ENOM, INC
betties.com           ENOM, INC
bigblow.com           ENOM, INC
bigdirty.com          ENOM, INC
bigdork.com           ENOM, INC
bigfatguy.com         ENOM, INC
bigfavor.com          ENOM, INC
bigfavors.com         ENOM, INC
biggeryield.com       ENOM, INC
biggut.com            ENOM, INC
bigloss.com           ENOM, INC
bigoaf.com            ENOM, INC
bigpackage.com        ENOM, INC
bigpornstar.com       ENOM, INC
bigrump.com           ENOM, INC
bigshack.com          ENOM, INC
bigtask.com           ENOM, INC
bigturkey.com         ENOM, INC
bigwhip.com           ENOM, INC
billionare.com        ENOM, INC
bitchalot.com         ENOM, INC
bizcorner.com         ENOM, INC
bizspecials.com       ENOM, INC
blackening.com        ENOM, INC
blankline.com         ENOM, INC
blondlover.com        ENOM, INC
bloodclots.com        ENOM, INC
blooddrive.com        ENOM, INC
bloodfest.com         ENOM, INC
bloodypics.com        ENOM, INC
bloops.com            ENOM, INC



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domain                 registrar
bluffed.com            ENOM, INC
bodyshack.com          ENOM, INC
bodytracks.com         ENOM, INC
bogdown.com            ENOM, INC
bombz.com              ENOM, INC
bonusspin.com          ENOM, INC
bootme.com             ENOM, INC
bootsfast.com          ENOM, INC
boquita.com            ENOM, INC
bornugly.com           ENOM, INC
braziers.com           ENOM, INC
bribed.com             ENOM, INC
browserfast.com        ENOM, INC
browserlight.com       ENOM, INC
browsermagic.com       ENOM, INC
buffguys.com           ENOM, INC
buitre.com             ENOM, INC
bulkvalue.com          ENOM, INC
bunhuggers.com         ENOM, INC
burgershops.com        ENOM, INC
buriedmoney.com        ENOM, INC
busyhour.com           ENOM, INC
butteredup.com         ENOM, INC
buttersoft.com         ENOM, INC
buttkicked.com         ENOM, INC
buttslam.com           ENOM, INC
cackled.com            ENOM, INC
calificas.com          ENOM, INC
camcrazy.com           ENOM, INC
camras.com             ENOM, INC
carnalsecret.com       ENOM, INC
carnalsecrets.com      ENOM, INC
carpetburn.com         ENOM, INC
cashbond.com           ENOM, INC
cashfest.com           ENOM, INC
cashfrenzy.com         ENOM, INC
cashie.com             ENOM, INC
cashlovers.com         ENOM, INC
cashnames.com          ENOM, INC
cashoperated.com       ENOM, INC
cashshark.com          ENOM, INC
catalinacruiser.com    ENOM, INC
catalinacruisers.com   ENOM, INC
catchymail.com         ENOM, INC
cdlover.com            ENOM, INC
centerme.com           ENOM, INC
chat4bucks.com         ENOM, INC



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                                                                        Page ID #:29
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domain                registrar
chatbarn.com          ENOM, INC
chatdiva.com          ENOM, INC
chatdorm.com          ENOM, INC
chatforbucks.com      ENOM, INC
chatmovie.com         ENOM, INC
chatpic.com           ENOM, INC
chatsolution.com      ENOM, INC
chatvision.com        ENOM, INC
chavas.com            ENOM, INC
cheapeasy.com         ENOM, INC
cheaprides.com        ENOM, INC
cheatgod.com          ENOM, INC
cheatshop.com         ENOM, INC
checkedout.com        ENOM, INC
checkem.com           ENOM, INC
checkmy.com           ENOM, INC
cheekbones.com        ENOM, INC
cheepstuff.com        ENOM, INC
chewstop.com          ENOM, INC
chiches.com           ENOM, INC
chicklick.com         ENOM, INC
chickshow.com         ENOM, INC
chickvideo.com        ENOM, INC
chinas.com            ENOM, INC
choiceporn.com        ENOM, INC
chowdown.com          ENOM, INC
chuchas.com           ENOM, INC
chugbeer.com          ENOM, INC
chugged.com           ENOM, INC
chupame.com           ENOM, INC
chupamela.com         ENOM, INC
chuparla.com          ENOM, INC
circumsize.com        ENOM, INC
classicharleys.com    ENOM, INC
cleanmouth.com        ENOM, INC
clearsaver.com        ENOM, INC
clickdeal.com         ENOM, INC
clinkers.com          ENOM, INC
closedmind.com        ENOM, INC
closeoutrack.com      ENOM, INC
clubcost.com          ENOM, INC
clubnaked.com         ENOM, INC
clubpros.com          ENOM, INC
clubspecials.com      ENOM, INC
clutzy.com            ENOM, INC
coatcheck.com         ENOM, INC
cockies.com           ENOM, INC



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 Case 8:17-cv-00690-JLS-JDE
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                                               09/20/19 Page
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                                                                     56 PageID#
                                                                        Page ID #:30
                                                                                615


domain                registrar
coerced.com           ENOM, INC
coldbusted.com        ENOM, INC
coldcall.com          ENOM, INC
coldcalled.com        ENOM, INC
coldchill.com         ENOM, INC
coldfloor.com         ENOM, INC
coldplus.com          ENOM, INC
colocatenow.com       ENOM, INC
computerhacks.com     ENOM, INC
confect.com           ENOM, INC
consultapsychic.com   ENOM, INC
contaminates.com      ENOM, INC
cookameal.com         ENOM, INC
cookiesale.com        ENOM, INC
cookitquick.com       ENOM, INC
cooldoggy.com         ENOM, INC
coolpunk.com          ENOM, INC
coolwow.com           ENOM, INC
copped.com            ENOM, INC
coppercasting.com     ENOM, INC
costz.com             ENOM, INC
countsheep.com        ENOM, INC
countyname.com        ENOM, INC
cozyliving.com        ENOM, INC
cozymail.com          ENOM, INC
crackhead.com         ENOM, INC
crackhouse.com        ENOM, INC
crankylady.com        ENOM, INC
crapsdealer.com       ENOM, INC
crazybitch.com        ENOM, INC
crazyburrito.com      ENOM, INC
crazyfuck.com         ENOM, INC
crazyluv.com          ENOM, INC
crazyorgy.com         ENOM, INC
crazyperson.com       ENOM, INC
crazypunk.com         ENOM, INC
crazyshots.com        ENOM, INC
crazystop.com         ENOM, INC
creaminess.com        ENOM, INC
cremepuff.com         ENOM, INC
crimescenes.com       ENOM, INC
crisped.com           ENOM, INC
crispies.com          ENOM, INC
crucialmoney.com      ENOM, INC
cruize.com            ENOM, INC
cruized.com           ENOM, INC
crunchin.com          ENOM, INC



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domain                 registrar
curlylashes.com        ENOM, INC
cutbacks.com           ENOM, INC
cutestars.com          ENOM, INC
dailypeek.com          ENOM, INC
damngirl.com           ENOM, INC
damnname.com           ENOM, INC
damnquick.com          ENOM, INC
darkmeat.com           ENOM, INC
darkshit.com           ENOM, INC
darkstuff.com          ENOM, INC
darnmad.com            ENOM, INC
dashoff.com            ENOM, INC
dashout.com            ENOM, INC
daybreaks.com          ENOM, INC
deaddeal.com           ENOM, INC
dealengine.com         ENOM, INC
deathcard.com          ENOM, INC
defaces.com            ENOM, INC
degrademe.com          ENOM, INC
demerol.com            ENOM, INC
dependabletruck.com    ENOM, INC
dependabletrucks.com   ENOM, INC
destroys.com           ENOM, INC
detail-cars.com        ENOM, INC
detered.com            ENOM, INC
detracts.com           ENOM, INC
dialajoke.com          ENOM, INC
dialerz.com            ENOM, INC
dickheads.com          ENOM, INC
differed.com           ENOM, INC
digitalquality.com     ENOM, INC
dillpickle.com         ENOM, INC
dirtyclips.com         ENOM, INC
dirtycostume.com       ENOM, INC
dirtydeal.com          ENOM, INC
dirtydeeds.com         ENOM, INC
dirtydiamonds.com      ENOM, INC
dirtydvd.com           ENOM, INC
dirtyfoto.com          ENOM, INC
dirtygal.com           ENOM, INC
dirtygifts.com         ENOM, INC
dirtylie.com           ENOM, INC
dirtylink.com          ENOM, INC
dirtymommy.com         ENOM, INC
dirtyoffice.com        ENOM, INC
dirtystation.com       ENOM, INC
dirtytape.com          ENOM, INC



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                                                                        Page ID #:32
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domain                 registrar
dirtytruth.com         ENOM, INC
dirtyvirgin.com        ENOM, INC
dollarfest.com         ENOM, INC
dooby.com              ENOM, INC
downsides.com          ENOM, INC
drainme.com            ENOM, INC
dreampatrol.com        ENOM, INC
drippin.com            ENOM, INC
driverdisk.com         ENOM, INC
drugbuster.com         ENOM, INC
drugshack.com          ENOM, INC
drunkbum.com           ENOM, INC
dubbed.com             ENOM, INC
duking.com             ENOM, INC
dumbmove.com           ENOM, INC
dwelled.com            ENOM, INC
dyingday.com           ENOM, INC
easybeat.com           ENOM, INC
easyclose.com          ENOM, INC
easygrooves.com        ENOM, INC
easylovin.com          ENOM, INC
easyluck.com           ENOM, INC
easypure.com           ENOM, INC
easytosetup.com        ENOM, INC
eatbeef.com            ENOM, INC
eatdirt.com            ENOM, INC
eatgood.com            ENOM, INC
eatmymeat.com          ENOM, INC
econodeal.com          ENOM, INC
elderlyslut.com        ENOM, INC
endhate.com            ENOM, INC
enteronly.com          ENOM, INC
eraises.com            ENOM, INC
eroticaddictions.com   ENOM, INC
eroticas.com           ENOM, INC
espermas.com           ENOM, INC
estatealert.com        ENOM, INC
evacuated.com          ENOM, INC
evildragon.com         ENOM, INC
evilpower.com          ENOM, INC
evilpowers.com         ENOM, INC
evilwithin.com         ENOM, INC
exotichotels.com       ENOM, INC
exoticlook.com         ENOM, INC
exoticmotel.com        ENOM, INC
expiringidcenter.com   ENOM, INC
explotar.com           ENOM, INC



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domain                registrar
expresshelp.com       ENOM, INC
extinto.com           ENOM, INC
extragood.com         ENOM, INC
extrarich.com         ENOM, INC
extremelybig.com      ENOM, INC
ezblack.com           ENOM, INC
ezbuck.com            ENOM, INC
ezbundle.com          ENOM, INC
ezchecks.com          ENOM, INC
ezdeals.com           ENOM, INC
ezdough.com           ENOM, INC
ezeat.com             ENOM, INC
ezfacts.com           ENOM, INC
ezguide.com           ENOM, INC
ezguitar.com          ENOM, INC
ezharvest.com         ENOM, INC
ezlay.com             ENOM, INC
ezmovies.com          ENOM, INC
ezname.com            ENOM, INC
ezpolicy.com          ENOM, INC
ezprizes.com          ENOM, INC
ezresume.com          ENOM, INC
ezstor.com            ENOM, INC
eztab.com             ENOM, INC
eztape.com            ENOM, INC
eztemp.com            ENOM, INC
fading.com            ENOM, INC
fairie.com            ENOM, INC
famousideas.com       ENOM, INC
famousones.com        ENOM, INC
fantasymaids.com      ENOM, INC
fantasymaster.com     ENOM, INC
fantasypics.com       ENOM, INC
fantasyshowcase.com   ENOM, INC
farmlive.com          ENOM, INC
farmpets.com          ENOM, INC
fastburger.com        ENOM, INC
fastclear.com         ENOM, INC
fastdough.com         ENOM, INC
fastgains.com         ENOM, INC
fastlaunch.com        ENOM, INC
fastlearner.com       ENOM, INC
fastmailing.com       ENOM, INC
fastmovin.com         ENOM, INC
fastreliable.com      ENOM, INC
fastreturn.com        ENOM, INC
fastreview.com        ENOM, INC



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domain                registrar
fastsketch.com        ENOM, INC
fastsmart.com         ENOM, INC
fastthings.com        ENOM, INC
fastupdate.com        ENOM, INC
fastwash.com          ENOM, INC
fatblunt.com          ENOM, INC
fatcentral.com        ENOM, INC
fatclam.com           ENOM, INC
fatjoint.com          ENOM, INC
fatlie.com            ENOM, INC
fatlost.com           ENOM, INC
fatmart.com           ENOM, INC
fatprofit.com         ENOM, INC
faxsystem.com         ENOM, INC
feasibly.com          ENOM, INC
feel4you.com          ENOM, INC
feelbig.com           ENOM, INC
feelmy.com            ENOM, INC
feelright.com         ENOM, INC
feelsick.com          ENOM, INC
feelthis.com          ENOM, INC
fends.com             ENOM, INC
fetchname.com         ENOM, INC
fetchnames.com        ENOM, INC
fightdirty.com        ENOM, INC
fightfat.com          ENOM, INC
filterporn.com        ENOM, INC
filthies.com          ENOM, INC
filthytalk.com        ENOM, INC
findaurl.com          ENOM, INC
findchick.com         ENOM, INC
findfeeds.com         ENOM, INC
findguy.com           ENOM, INC
findlost.com          ENOM, INC
findlovers.com        ENOM, INC
findscript.com        ENOM, INC
fineass.com           ENOM, INC
finebaby.com          ENOM, INC
finedolls.com         ENOM, INC
finefeet.com          ENOM, INC
finefoot.com          ENOM, INC
finelist.com          ENOM, INC
finepets.com          ENOM, INC
fineshirt.com         ENOM, INC
finestars.com         ENOM, INC
finestcut.com         ENOM, INC
fingerthem.com        ENOM, INC



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domain                registrar
finked.com            ENOM, INC
firmbabe.com          ENOM, INC
firstkill.com         ENOM, INC
fistit.com            ENOM, INC
fiveinchheels.com     ENOM, INC
fixyourown.com        ENOM, INC
flatties.com          ENOM, INC
flicted.com           ENOM, INC
flipback.com          ENOM, INC
flirtfree.com         ENOM, INC
flirtspot.com         ENOM, INC
flojas.com            ENOM, INC
flopped.com           ENOM, INC
flunkie.com           ENOM, INC
flyingkick.com        ENOM, INC
fonefreaks.com        ENOM, INC
foofie.com            ENOM, INC
forcefully.com        ENOM, INC
forwarded.com         ENOM, INC
fouled.com            ENOM, INC
fratbrothers.com      ENOM, INC
freakie.com           ENOM, INC
freakwife.com         ENOM, INC
free-domains.com      ENOM, INC
free-email.com        ENOM, INC
free-girl.com         ENOM, INC
freeapt.com           ENOM, INC
freeautomobile.com    ENOM, INC
freeaward.com         ENOM, INC
freebarn.com          ENOM, INC
freebite.com          ENOM, INC
freeblades.com        ENOM, INC
freebottle.com        ENOM, INC
freecar.com           ENOM, INC
freechips.net         ENOM, INC
freeclue.com          ENOM, INC
freecreme.com         ENOM, INC
freedemo.com          ENOM, INC
freedime.com          ENOM, INC
freeescort.com        ENOM, INC
freefashions.com      ENOM, INC
freeganja.com         ENOM, INC
freeguess.com         ENOM, INC
freegum.com           ENOM, INC
freehaircut.com       ENOM, INC
freehints.com         ENOM, INC
freeintro.com         ENOM, INC



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domain                registrar
freejuice.com         ENOM, INC
freelogon.com         ENOM, INC
freenurse.com         ENOM, INC
freeoasis.com         ENOM, INC
freepermit.com        ENOM, INC
freepose.com          ENOM, INC
freepup.com           ENOM, INC
freesignals.com       ENOM, INC
freesteps.com         ENOM, INC
freesweets.com        ENOM, INC
freetreat.com         ENOM, INC
freeutils.com         ENOM, INC
freewords.com         ENOM, INC
freeyear.com          ENOM, INC
frenchdeli.com        ENOM, INC
freshmuffin.com       ENOM, INC
freshphoto.com        ENOM, INC
frowned.com           ENOM, INC
froze.com             ENOM, INC
fryme.com             ENOM, INC
fuckingevil.com       ENOM, INC
fuckingmagic.com      ENOM, INC
fuckingpig.com        ENOM, INC
fudged.com            ENOM, INC
fullgal.com           ENOM, INC
fullgirl.com          ENOM, INC
fullladies.com        ENOM, INC
fullmama.com          ENOM, INC
fullsized.com         ENOM, INC
funbarn.com           ENOM, INC
funbetting.com        ENOM, INC
funcafe.com           ENOM, INC
funcrap.com           ENOM, INC
fundaddy.com          ENOM, INC
funkyass.com          ENOM, INC
funneled.com          ENOM, INC
funnybaby.com         ENOM, INC
funpuppets.com        ENOM, INC
funscript.com         ENOM, INC
funtattoos.com        ENOM, INC
fuzzoff.com           ENOM, INC
gamehens.com          ENOM, INC
gamerchick.com        ENOM, INC
gangrape.com          ENOM, INC
gargajo.com           ENOM, INC
getfat.com            ENOM, INC
getluv.com            ENOM, INC



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domain                registrar
ghettofresh.com       ENOM, INC
ghostwarrior.com      ENOM, INC
giantprize.com        ENOM, INC
giantreturn.com       ENOM, INC
giantreturns.com      ENOM, INC
gimmelove.com         ENOM, INC
girliefilms.com       ENOM, INC
girlsbathrooms.com    ENOM, INC
girlyaction.com       ENOM, INC
girlytalk.com         ENOM, INC
gleeclubs.com         ENOM, INC
goddamn.com           ENOM, INC
goldurl.com           ENOM, INC
goldurls.com          ENOM, INC
gongs.com             ENOM, INC
goobs.com             ENOM, INC
goodarea.com          ENOM, INC
goodblow.com          ENOM, INC
gooddocs.com          ENOM, INC
goodfree.com          ENOM, INC
goodhtml.com          ENOM, INC
goodiebox.com         ENOM, INC
goodlotion.com        ENOM, INC
goodlovin.com         ENOM, INC
goodpace.com          ENOM, INC
goodpoetry.com        ENOM, INC
goodpot.com           ENOM, INC
goodpricing.com       ENOM, INC
goodprofit.com        ENOM, INC
goodseal.com          ENOM, INC
goodshots.com         ENOM, INC
goodsubs.com          ENOM, INC
goodsurface.com       ENOM, INC
goodtan.com           ENOM, INC
goofed.com            ENOM, INC
goofedoff.com         ENOM, INC
gorda.com             ENOM, INC
gotaway.com           ENOM, INC
gotoff.com            ENOM, INC
gottajet.com          ENOM, INC
grabsome.com          ENOM, INC
gradclub.com          ENOM, INC
gradhouse.com         ENOM, INC
graffitiboard.com     ENOM, INC
grafittiboard.com     ENOM, INC
grandota.com          ENOM, INC
grandotas.com         ENOM, INC



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domain                registrar
grannycash.com        ENOM, INC
greatcut.com          ENOM, INC
greatgang.com         ENOM, INC
greatmeal.com         ENOM, INC
greatpass.com         ENOM, INC
greatpcs.com          ENOM, INC
greatpromo.com        ENOM, INC
greatscene.com        ENOM, INC
greatsnatch.com       ENOM, INC
greekmen.com          ENOM, INC
grillme.com           ENOM, INC
grindin.com           ENOM, INC
grolights.com         ENOM, INC
groveling.com         ENOM, INC
gruesos.com           ENOM, INC
gueststay.com         ENOM, INC
guideeasy.com         ENOM, INC
guntower.com          ENOM, INC
gutme.com             ENOM, INC
guyshack.com          ENOM, INC
guystop.com           ENOM, INC
guytrouble.com        ENOM, INC
hackerland.com        ENOM, INC
hairlesscunts.com     ENOM, INC
handcarve.com         ENOM, INC
handystrip.com        ENOM, INC
handystrips.com       ENOM, INC
hardnumbers.com       ENOM, INC
hateletter.com        ENOM, INC
hates.com             ENOM, INC
hauloff.com           ENOM, INC
haulsass.com          ENOM, INC
hbgirls.com           ENOM, INC
heapz.com             ENOM, INC
heatmachine.com       ENOM, INC
heats.com             ENOM, INC
hermana.com           ENOM, INC
hermanitas.com        ENOM, INC
heyjerk.com           ENOM, INC
heylover.com          ENOM, INC
hibernators.com       ENOM, INC
higherups.com         ENOM, INC
highfreq.com          ENOM, INC
highpitched.com       ENOM, INC
hipocrate.com         ENOM, INC
hiredkiller.com       ENOM, INC
honeybaby.com         ENOM, INC



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domain                registrar
honkies.com           ENOM, INC
hoopaction.com        ENOM, INC
hootchie.com          ENOM, INC
horneys.com           ENOM, INC
hornydorm.com         ENOM, INC
hornygeek.com         ENOM, INC
hornypostcard.com     ENOM, INC
hornytv.com           ENOM, INC
horsecock.com         ENOM, INC
horsedicks.com        ENOM, INC
horsesuck.com         ENOM, INC
hotbargain.com        ENOM, INC
hotbonus.com          ENOM, INC
hotbreath.com         ENOM, INC
hotbuffet.com         ENOM, INC
hotbundle.com         ENOM, INC
hotchatting.com       ENOM, INC
hotjiz.com            ENOM, INC
hotlunches.com        ENOM, INC
hotmommy.com          ENOM, INC
hotmustang.com        ENOM, INC
hotnhairy.com         ENOM, INC
hotnigga.com          ENOM, INC
hotnspicy.com         ENOM, INC
hotpiercings.com      ENOM, INC
hotreading.com        ENOM, INC
hotrumor.com          ENOM, INC
hotskillet.com        ENOM, INC
hotstarlet.com        ENOM, INC
hotsubmission.com     ENOM, INC
hottymail.com         ENOM, INC
hottypic.com          ENOM, INC
hotville.com          ENOM, INC
hotvoyeur.com         ENOM, INC
housejams.com         ENOM, INC
howstupid.com         ENOM, INC
htmlgirl.com          ENOM, INC
hugeguys.com          ENOM, INC
hugemama.com          ENOM, INC
hugemamas.com         ENOM, INC
hugesites.com         ENOM, INC
humiliateme.com       ENOM, INC
hummed.com            ENOM, INC
hungsluts.com         ENOM, INC
hunkonline.com        ENOM, INC
hunkville.com         ENOM, INC
id-parking.com        ENOM, INC



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domain                    registrar
id-parking.net            ENOM, INC
ifeelbad.com              ENOM, INC
illegalpasses.com         ENOM, INC
ilovepenis.com            ENOM, INC
iluvcash.com              ENOM, INC
iluvit.com                ENOM, INC
imblue.com                ENOM, INC
imbroke.com               ENOM, INC
imfat.com                 ENOM, INC
imfun.com                 ENOM, INC
impissed.com              ENOM, INC
implaying.com             ENOM, INC
improtected.com           ENOM, INC
improveskin.com           ENOM, INC
imrich.com                ENOM, INC
imshort.com               ENOM, INC
imsleepy.com              ENOM, INC
imunch.com                ENOM, INC
imwatching.com            ENOM, INC
imwired.com               ENOM, INC
imworking.com             ENOM, INC
inbadtaste.com            ENOM, INC
incomequick.com           ENOM, INC
indiscrete.com            ENOM, INC
indorsed.com              ENOM, INC
infielders.com            ENOM, INC
inmyarms.com              ENOM, INC
inmybutt.com              ENOM, INC
inmyhand.com              ENOM, INC
inmymouth.com             ENOM, INC
insertme.com              ENOM, INC
instabike.com             ENOM, INC
instantfree.com           ENOM, INC
instaserve.com            ENOM, INC
internalaffair.com        ENOM, INC
internetdomains.pro       ENOM, INC
internetdomainsnews.com   ENOM, INC
internetmailing.com       ENOM, INC
intrusive.com             ENOM, INC
ipenetrated.com           ENOM, INC
iquit.com                 ENOM, INC
ivoryinvestments.com      ENOM, INC
ivoryinvestments.net      ENOM, INC
jabbered.com              ENOM, INC
jackasses.com             ENOM, INC
jackslapped.com           ENOM, INC
jailbreaks.com            ENOM, INC



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domain                registrar
jingled.com           ENOM, INC
jiveass.com           ENOM, INC
jizzed.com            ENOM, INC
juicydeal.com         ENOM, INC
jumpstarts.com        ENOM, INC
junklist.com          ENOM, INC
junkmart.com          ENOM, INC
junkme.com            ENOM, INC
junkroom.com          ENOM, INC
justblondes.com       ENOM, INC
justdandy.com         ENOM, INC
justhot.com           ENOM, INC
justmoving.com        ENOM, INC
justnails.com         ENOM, INC
justvote.com          ENOM, INC
kewldude.com          ENOM, INC
kewlsites.com         ENOM, INC
kidavenue.com         ENOM, INC
kidded.com            ENOM, INC
kiddiepool.com        ENOM, INC
kiddypages.com        ENOM, INC
kidpark.com           ENOM, INC
killerbass.com        ENOM, INC
killerbuy.com         ENOM, INC
killgerms.com         ENOM, INC
kills.com             ENOM, INC
kinkybucks.com        ENOM, INC
kinkyposition.com     ENOM, INC
kinkypostcard.com     ENOM, INC
kissups.com           ENOM, INC
knockedout.com        ENOM, INC
labors.com            ENOM, INC
ladycop.com           ENOM, INC
ladycops.com          ENOM, INC
lameexcuse.com        ENOM, INC
lastlicks.com         ENOM, INC
lastout.com           ENOM, INC
lastvisitors.com      ENOM, INC
latinhunk.com         ENOM, INC
layblame.com          ENOM, INC
layme.com             ENOM, INC
leaseown.com          ENOM, INC
leavenow.com          ENOM, INC
legalfun.com          ENOM, INC
legaljunk.com         ENOM, INC
legalthreat.com       ENOM, INC
lends.com             ENOM, INC



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domain                registrar
lickinpussy.com       ENOM, INC
likeher.com           ENOM, INC
lipzone.com           ENOM, INC
liquorbargain.com     ENOM, INC
liquordeal.com        ENOM, INC
listenout.com         ENOM, INC
livehour.com          ENOM, INC
livepornos.com        ENOM, INC
liveson.com           ENOM, INC
livestaff.com         ENOM, INC
localpunks.com        ENOM, INC
localstuds.com        ENOM, INC
locas.com             ENOM, INC
lockme.com            ENOM, INC
lookyou.com           ENOM, INC
looselips.com         ENOM, INC
loosewires.com        ENOM, INC
loselose.com          ENOM, INC
lotsdeal.com          ENOM, INC
loused.com            ENOM, INC
loveass.com           ENOM, INC
lovebucks.com         ENOM, INC
lovecanals.com        ENOM, INC
lovefreak.com         ENOM, INC
lovegranny.com        ENOM, INC
lovehandles.com       ENOM, INC
lovelymail.com        ENOM, INC
loveoasis.com         ENOM, INC
lovepit.com           ENOM, INC
lovepoll.com          ENOM, INC
loverocket.com        ENOM, INC
lovestop.com          ENOM, INC
lowcostsoftware.com   ENOM, INC
lowrents.com          ENOM, INC
lowrisks.com          ENOM, INC
lumped.com            ENOM, INC
lunchsack.com         ENOM, INC
luvmail.com           ENOM, INC
mailboxstation.com    ENOM, INC
majorbreak.com        ENOM, INC
majorbuzz.com         ENOM, INC
majorloads.com        ENOM, INC
majorstud.com         ENOM, INC
makenice.com          ENOM, INC
makescash.com         ENOM, INC
makesprofit.com       ENOM, INC
maldito.com           ENOM, INC



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domain                registrar
mammaries.com         ENOM, INC
mammies.com           ENOM, INC
mariguano.com         ENOM, INC
massexposure.com      ENOM, INC
maxmoves.com          ENOM, INC
maxpicks.com          ENOM, INC
mcdtoys.com           ENOM, INC
mealbank.com          ENOM, INC
mealcart.com          ENOM, INC
meanlady.com          ENOM, INC
meatier.com           ENOM, INC
mellowout.com         ENOM, INC
memorycam.com         ENOM, INC
memoryclock.com       ENOM, INC
memoryseek.com        ENOM, INC
mercykill.com         ENOM, INC
messed.com            ENOM, INC
microplush.com        ENOM, INC
microstop.com         ENOM, INC
middleage.com         ENOM, INC
mifavorita.com        ENOM, INC
mightypen.com         ENOM, INC
milions.com           ENOM, INC
miscarried.com        ENOM, INC
misnombres.com        ENOM, INC
mistervideo.com       ENOM, INC
miverga.com           ENOM, INC
mobiletinting.com     ENOM, INC
mocked.com            ENOM, INC
moderndreams.com      ENOM, INC
moneyminers.com       ENOM, INC
mooddrug.com          ENOM, INC
morphs.com            ENOM, INC
mountme.com           ENOM, INC
movecheap.com         ENOM, INC
movin.com             ENOM, INC
mp3lists.com          ENOM, INC
mp3locate.com         ENOM, INC
mp3locater.com        ENOM, INC
mrprize.com           ENOM, INC
mrpurple.com          ENOM, INC
mushy.com             ENOM, INC
muttered.com          ENOM, INC
mymomma.com           ENOM, INC
mypile.com            ENOM, INC
nabbed.com            ENOM, INC
naggy.com             ENOM, INC



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domain                registrar
nalga.com             ENOM, INC
nastycd.com           ENOM, INC
nastydesires.com      ENOM, INC
nastydevil.com        ENOM, INC
nastyhosting.com      ENOM, INC
nastyjob.com          ENOM, INC
nastyshow.com         ENOM, INC
navyboys.com          ENOM, INC
nerdtest.com          ENOM, INC
netdough.com          ENOM, INC
neverquits.com        ENOM, INC
neverstops.com        ENOM, INC
newchicks.com         ENOM, INC
newpast.com           ENOM, INC
newsperson.com        ENOM, INC
nextsoftware.com      ENOM, INC
nibbleme.com          ENOM, INC
nicebeat.com          ENOM, INC
nicepussys.com        ENOM, INC
nicesystem.com        ENOM, INC
niceviews.com         ENOM, INC
nickleslots.com       ENOM, INC
niggas.com            ENOM, INC
niggerlover.com       ENOM, INC
niggerrig.com         ENOM, INC
niggerrigged.com      ENOM, INC
niggerz.com           ENOM, INC
nighties.com          ENOM, INC
nochance.com          ENOM, INC
nocholesterol.com     ENOM, INC
noclothes.com         ENOM, INC
noheart.com           ENOM, INC
nonresidents.com      ENOM, INC
nosecandy.com         ENOM, INC
notanswering.com      ENOM, INC
nowprice.com          ENOM, INC
nudeblonds.com        ENOM, INC
nudeex.com            ENOM, INC
nutlovers.com         ENOM, INC
nuzzled.com           ENOM, INC
officecreations.com   ENOM, INC
officefaq.com         ENOM, INC
officina.com          ENOM, INC
ohbrother.com         ENOM, INC
ohhot.com             ENOM, INC
ohmama.com            ENOM, INC
OhTrue.com            ENOM, INC



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domain                 registrar
ohwhatever.com         ENOM, INC
oldaged.com            ENOM, INC
oldercash.com          ENOM, INC
olderwiser.com         ENOM, INC
oldhag.com             ENOM, INC
oldwoman.com           ENOM, INC
onlyladies.com         ENOM, INC
onlymothers.com        ENOM, INC
onyourface.com         ENOM, INC
openarmed.com          ENOM, INC
orderform.com          ENOM, INC
orientalbabe.com       ENOM, INC
ouchies.com            ENOM, INC
ourmama.com            ENOM, INC
ourporn.com            ENOM, INC
overflowed.com         ENOM, INC
p-srv.net              ENOM, INC
paintme.com            ENOM, INC
paltry.com             ENOM, INC
partakes.com           ENOM, INC
partydorm.com          ENOM, INC
pasthistory.com        ENOM, INC
paybacks.com           ENOM, INC
payscash.com           ENOM, INC
peacenigga.com         ENOM, INC
peeker.com             ENOM, INC
peepme.com             ENOM, INC
perfectfits.com        ENOM, INC
perfectits.com         ENOM, INC
perfectmess.com        ENOM, INC
personalshotline.com   ENOM, INC
pesone.com             ENOM, INC
phonejokes.com         ENOM, INC
phonequick.com         ENOM, INC
photohotline.com       ENOM, INC
pickaguy.com           ENOM, INC
pickastock.com         ENOM, INC
picketer.com           ENOM, INC
pictureids.com         ENOM, INC
pileofshit.com         ENOM, INC
pimpme.com             ENOM, INC
pintsized.com          ENOM, INC
pinupsite.com          ENOM, INC
piruja.com             ENOM, INC
playfaster.com         ENOM, INC
pleadguilty.com        ENOM, INC
pleasefuckme.com       ENOM, INC



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domain                 registrar
plentycash.com         ENOM, INC
plugme.com             ENOM, INC
plumpness.com          ENOM, INC
pluslove.com           ENOM, INC
policeraid.com         ENOM, INC
pollz.com              ENOM, INC
polygrapher.com        ENOM, INC
poochies.com           ENOM, INC
pooped.com             ENOM, INC
poopie.com             ENOM, INC
poopies.com            ENOM, INC
poopmail.com           ENOM, INC
poopsie.com            ENOM, INC
poordog.com            ENOM, INC
poormen.com            ENOM, INC
porked.com             ENOM, INC
porncheap.com          ENOM, INC
porndeal.com           ENOM, INC
porndevils.com         ENOM, INC
pornobargain.com       ENOM, INC
pornsaver.com          ENOM, INC
pornscour.com          ENOM, INC
portege.com            ENOM, INC
potheadz.com           ENOM, INC
potplants.com          ENOM, INC
potseed.com            ENOM, INC
potseeds.com           ENOM, INC
potterycity.com        ENOM, INC
pottypic.com           ENOM, INC
powerdrops.com         ENOM, INC
practicalfun.com       ENOM, INC
prankcam.com           ENOM, INC
preauthorize.com       ENOM, INC
premiumplays.com       ENOM, INC
premiumregistrar.com   ENOM, INC
prepclub.com           ENOM, INC
preserveme.com         ENOM, INC
prettybig.com          ENOM, INC
prettyland.com         ENOM, INC
prettysluts.com        ENOM, INC
previewgame.com        ENOM, INC
pricetest.com          ENOM, INC
primebucks.com         ENOM, INC
primechoices.com       ENOM, INC
primereward.com        ENOM, INC
primoprofit.com        ENOM, INC
primoprofits.com       ENOM, INC



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domain                registrar
psycotic.com          ENOM, INC
puffys.com            ENOM, INC
punkergirl.com        ENOM, INC
puredeal.com          ENOM, INC
purefear.com          ENOM, INC
pureimpulse.com       ENOM, INC
purevibe.com          ENOM, INC
pussydream.com        ENOM, INC
putoff.com            ENOM, INC
putos.com             ENOM, INC
qualitybids.com       ENOM, INC
queendrama.com        ENOM, INC
queervideo.com        ENOM, INC
quickabs.com          ENOM, INC
quickbadge.com        ENOM, INC
quickburst.com        ENOM, INC
quickfame.com         ENOM, INC
quickhunt.com         ENOM, INC
quickoffer.com        ENOM, INC
quickpasta.com        ENOM, INC
quickrooter.com       ENOM, INC
radmail.com           ENOM, INC
raffleme.com          ENOM, INC
randomseek.com        ENOM, INC
rarepic.com           ENOM, INC
rateher.com           ENOM, INC
ratehim.com           ENOM, INC
raveclub.com          ENOM, INC
rawproducts.com       ENOM, INC
realcute.com          ENOM, INC
realjuicy.com         ENOM, INC
realslick.com         ENOM, INC
reapers.com           ENOM, INC
rearended.com         ENOM, INC
reassigned.com        ENOM, INC
rebated.com           ENOM, INC
receding.com          ENOM, INC
receiveme.com         ENOM, INC
reinvested.com        ENOM, INC
relayme.com           ENOM, INC
removeme.com          ENOM, INC
removespots.com       ENOM, INC
removeus.com          ENOM, INC
rentmyass.com         ENOM, INC
resumequick.com       ENOM, INC
rimsizes.com          ENOM, INC
roamed.com            ENOM, INC



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                                               09/20/19 Page
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                                                                        Page ID #:48
                                                                                633


domain                   registrar
rosyred.com              ENOM, INC
roughy.com               ENOM, INC
runthissite.com          ENOM, INC
rustyblade.com           ENOM, INC
sackme.com               ENOM, INC
sadmail.com              ENOM, INC
safeforall.com           ENOM, INC
sailing101.com           ENOM, INC
samplework.com           ENOM, INC
sauted.com               ENOM, INC
saying.com               ENOM, INC
scarletwoman.com         ENOM, INC
scentstrips.com          ENOM, INC
scolds.com               ENOM, INC
scoreclub.com            ENOM, INC
scoredeals.com           ENOM, INC
scours.com               ENOM, INC
scratched.com            ENOM, INC
screwedover.com          ENOM, INC
screwmom.com             ENOM, INC
scriptomatic.com         ENOM, INC
scubatek.com             ENOM, INC
searchie.com             ENOM, INC
searchwolf.com           ENOM, INC
securebanks.com          ENOM, INC
securitybrief.com        ENOM, INC
seedeals.com             ENOM, INC
seemysite.com            ENOM, INC
seepic.com               ENOM, INC
seethrucams.com          ENOM, INC
selectcuts.com           ENOM, INC
sellspot.com             ENOM, INC
semental.com             ENOM, INC
seriousbiddersonly.com   ENOM, INC
SERVEBANNER.com          ENOM, INC
serverlogs.com           ENOM, INC
servingup.com            ENOM, INC
sexbooty.com             ENOM, INC
sexoutside.com           ENOM, INC
sexpreviews.com          ENOM, INC
sexualurges.com          ENOM, INC
sexyscenes.com           ENOM, INC
sexytreat.com            ENOM, INC
sharkaudio.com           ENOM, INC
sharpest.com             ENOM, INC
shavedhole.com           ENOM, INC
shitcanned.com           ENOM, INC



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domain                registrar
shockme.com           ENOM, INC
shockvid.com          ENOM, INC
shockvideos.com       ENOM, INC
shopsave.com          ENOM, INC
shorted.com           ENOM, INC
shortflick.com        ENOM, INC
showered.com          ENOM, INC
shrieked.com          ENOM, INC
shrimpers.com         ENOM, INC
shuffled.com          ENOM, INC
sickfriend.com        ENOM, INC
sickly.com            ENOM, INC
sickmods.com          ENOM, INC
sickmoney.com         ENOM, INC
sicknasty.com         ENOM, INC
sickperv.com          ENOM, INC
signupwizard.com      ENOM, INC
silkcloth.com         ENOM, INC
sillyslime.com        ENOM, INC
silverporn.com        ENOM, INC
simplydomains.com     ENOM, INC
sinproblema.com       ENOM, INC
sitedeal.com          ENOM, INC
sitedeals.com         ENOM, INC
sitonme.com           ENOM, INC
sizzlechat.com        ENOM, INC
slacka.com            ENOM, INC
slackass.com          ENOM, INC
slangin.com           ENOM, INC
slease.com            ENOM, INC
sleepgood.com         ENOM, INC
slithers.com          ENOM, INC
slowpeople.com        ENOM, INC
slowwitted.com        ENOM, INC
slutsy.com            ENOM, INC
slutty.com            ENOM, INC
smackin.com           ENOM, INC
smallprices.com       ENOM, INC
smartbux.com          ENOM, INC
smartfetch.com        ENOM, INC
smartgal.com          ENOM, INC
smartnotify.com       ENOM, INC
smartowners.com       ENOM, INC
smartreplica.com      ENOM, INC
smartsample.com       ENOM, INC
smartvendors.com      ENOM, INC
smartverify.com       ENOM, INC



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                                                                                635


domain                 registrar
smartvip.com           ENOM, INC
smartwife.com          ENOM, INC
smartwizard.com        ENOM, INC
smashstuff.com         ENOM, INC
smogking.com           ENOM, INC
smoocher.com           ENOM, INC
smoothshaven.com       ENOM, INC
snackbarn.com          ENOM, INC
snotnose.com           ENOM, INC
snots.com              ENOM, INC
socalhotspots.com      ENOM, INC
solicited.com          ENOM, INC
someplacefun.com       ENOM, INC
sonasty.com            ENOM, INC
sonicburst.com         ENOM, INC
soplon.com             ENOM, INC
spacewoman.com         ENOM, INC
sparcstations.com      ENOM, INC
speedaddict.com        ENOM, INC
spell-bound.com        ENOM, INC
spentload.com          ENOM, INC
spentmagazine.com      ENOM, INC
spentround.com         ENOM, INC
spicedepot.com         ENOM, INC
spics.com              ENOM, INC
spicymamas.com         ENOM, INC
spiraled.com           ENOM, INC
sportquote.com         ENOM, INC
stabbed.com            ENOM, INC
stayinpower.com        ENOM, INC
staypure.com           ENOM, INC
staytoned.com          ENOM, INC
steadycash.com         ENOM, INC
steaklover.com         ENOM, INC
steamin.com            ENOM, INC
steamysex.com          ENOM, INC
stereoshopper.com      ENOM, INC
stereoshops.com        ENOM, INC
stiffed.com            ENOM, INC
stiffrod.com           ENOM, INC
stillinpower.com       ENOM, INC
stinka.com             ENOM, INC
stockmind.com          ENOM, INC
stockquotation.com     ENOM, INC
stockwatchonline.com   ENOM, INC
stockyields.com        ENOM, INC
stonedbabes.com        ENOM, INC



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domain                registrar
stonesober.com        ENOM, INC
stooped.com           ENOM, INC
straightgirl.com      ENOM, INC
strapit.com           ENOM, INC
streetlady.com        ENOM, INC
stroked.com           ENOM, INC
struckout.com         ENOM, INC
stuffhidden.com       ENOM, INC
stumped.com           ENOM, INC
stupidex.com          ENOM, INC
stylebarn.com         ENOM, INC
stylefocus.com        ENOM, INC
subtracted.com        ENOM, INC
suckas.com            ENOM, INC
suckem.com            ENOM, INC
suckharder.com        ENOM, INC
suckitoff.com         ENOM, INC
suckmedry.com         ENOM, INC
sucktoes.com          ENOM, INC
suncarecreams.com     ENOM, INC
suspecting.com        ENOM, INC
sustains.com          ENOM, INC
swanks.com            ENOM, INC
sweated.com           ENOM, INC
sweetdude.com         ENOM, INC
sweetfriends.com      ENOM, INC
sweetluv.com          ENOM, INC
sweetwife.com         ENOM, INC
sweetybear.com        ENOM, INC
tackie.com            ENOM, INC
takingcover.com       ENOM, INC
talkdrugs.com         ENOM, INC
talkstraight.com      ENOM, INC
tallladies.com        ENOM, INC
tapeme.com            ENOM, INC
tastydog.com          ENOM, INC
tastylicks.com        ENOM, INC
technocrazy.com       ENOM, INC
teenbux.com           ENOM, INC
teenfreaks.com        ENOM, INC
teeniemail.com        ENOM, INC
teenphotographs.com   ENOM, INC
temblar.com           ENOM, INC
tenderlips.com        ENOM, INC
tenderpink.com        ENOM, INC
tener.com             ENOM, INC
thefatkid.com         ENOM, INC



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domain                 registrar
thegoodshit.com        ENOM, INC
thinkinternet.com      ENOM, INC
thinning.com           ENOM, INC
tickoff.com            ENOM, INC
tightdeal.com          ENOM, INC
tightfist.com          ENOM, INC
timed.com              ENOM, INC
tinkled.com            ENOM, INC
tinkletinkle.com       ENOM, INC
tippedover.com         ENOM, INC
tittyflick.com         ENOM, INC
to-do.com              ENOM, INC
todolist.com           ENOM, INC
toesfetish.com         ENOM, INC
tongued.com            ENOM, INC
tonofcash.com          ENOM, INC
tootight.com           ENOM, INC
topdiploma.com         ENOM, INC
tossit.com             ENOM, INC
totalhunk.com          ENOM, INC
totalled.com           ENOM, INC
toughcat.com           ENOM, INC
touting.com            ENOM, INC
trannyslut.com         ENOM, INC
trashed.com            ENOM, INC
treatshop.com          ENOM, INC
trickrider.com         ENOM, INC
trimsmart.com          ENOM, INC
triplejackpot.com      ENOM, INC
tripout.com            ENOM, INC
trojanhorses.com       ENOM, INC
truckdetail.com        ENOM, INC
truebargain.com        ENOM, INC
ultrademo.com          ENOM, INC
ultrapenis.com         ENOM, INC
ultrashave.com         ENOM, INC
uncutbeef.com          ENOM, INC
underentertained.com   ENOM, INC
unending.com           ENOM, INC
untraceable.com        ENOM, INC
upher.com              ENOM, INC
upskirter.com          ENOM, INC
upskirters.com         ENOM, INC
urlerror.com           ENOM, INC
urlheaven.com          ENOM, INC
vacuumed.com           ENOM, INC
vapobucket.com         ENOM, INC



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domain                   registrar
vapours.com              ENOM, INC
vengativo.com            ENOM, INC
version.com              ENOM, INC
victorioso.com           ENOM, INC
videogals.com            ENOM, INC
videopromo.com           ENOM, INC
vieja.com                ENOM, INC
violacions.com           ENOM, INC
violar.com               ENOM, INC
violento.com             ENOM, INC
vipchats.com             ENOM, INC
virginmail.com           ENOM, INC
vomito.com               ENOM, INC
votados.com              ENOM, INC
wantgirls.com            ENOM, INC
warezboard.com           ENOM, INC
warezleech.com           ENOM, INC
wargods.com              ENOM, INC
warnme.com               ENOM, INC
WatchDollar.com          ENOM, INC
WatchtheDollar.com       ENOM, INC
weaksuck.com             ENOM, INC
wealthsecret.com         ENOM, INC
webflirts.com            ENOM, INC
webkisses.com            ENOM, INC
webmastermarketing.com   ENOM, INC
weeny.com                ENOM, INC
wetpink.com              ENOM, INC
wetwilly.com             ENOM, INC
whippin.com              ENOM, INC
whiteladies.com          ENOM, INC
whored.com               ENOM, INC
wickeddeals.com          ENOM, INC
wickedguy.com            ENOM, INC
wildshack.com            ENOM, INC
winecheap.com            ENOM, INC
winos.com                ENOM, INC
women4sale.com           ENOM, INC
womenforsale.com         ENOM, INC
wowcrazy.com             ENOM, INC
wowdeals.com             ENOM, INC
wronged.com              ENOM, INC
wrung.com                ENOM, INC
xmailing.com             ENOM, INC
xpure.com                ENOM, INC
xxxscenes.com            ENOM, INC
yellowbelly.com          ENOM, INC



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domain                registrar
yourewrong.com        ENOM, INC
yummytreat.com        ENOM, INC
zerointerest.com      ENOM, INC
pinupmagazine.com     ENOM415 INCORPORATED
givetome.com          FABULOUS.COM PTY LTD
inhisarms.com         FABULOUS.COM PTY LTD
lardass.com           FABULOUS.COM PTY LTD
homevend.com          FETCH REGISTRAR, LLC
picdaily.com          FREE DIVE DOMAINS, LLC
yearn.com             GANDI
begs.com              GO DADDY SOFTWARE INC
callpolice.com        GO DADDY SOFTWARE INC
cardtrading.com       GO DADDY SOFTWARE INC
cholos.com            GO DADDY SOFTWARE INC
crackpipes.com        GO DADDY SOFTWARE INC
crumbcake.com         GO DADDY SOFTWARE INC
cumputers.com         GO DADDY SOFTWARE INC
debtminders.com       GO DADDY SOFTWARE INC
desertair.com         GO DADDY SOFTWARE INC
diskutilities.com     GO DADDY SOFTWARE INC
drugbust.com          GO DADDY SOFTWARE INC
errorlist.com         GO DADDY SOFTWARE INC
ezladies.com          GO DADDY SOFTWARE INC
goldrates.com         GO DADDY SOFTWARE INC
goons.com             GO DADDY SOFTWARE INC
hotsaver.com          GO DADDY SOFTWARE INC
lickherfeet.com       GO DADDY SOFTWARE INC
littletails.com       GO DADDY SOFTWARE INC
longlashes.com        GO DADDY SOFTWARE INC
milkme.com            GO DADDY SOFTWARE INC
mommysluts.com        GO DADDY SOFTWARE INC
nastee.com            GO DADDY SOFTWARE INC
nastytramp.com        GO DADDY SOFTWARE INC
oldchap.com           GO DADDY SOFTWARE INC
oldposts.com          GO DADDY SOFTWARE INC
onyourbutt.com        GO DADDY SOFTWARE INC
pickdeals.com         GO DADDY SOFTWARE INC
plasticwrap.com       GO DADDY SOFTWARE INC
poignant.com          GO DADDY SOFTWARE INC
prepays.com           GO DADDY SOFTWARE INC
pureshit.com          GO DADDY SOFTWARE INC
securefree.com        GO DADDY SOFTWARE INC
smartcluster.com      GO DADDY SOFTWARE INC
spaceanimal.com       GO DADDY SOFTWARE INC
spasms.com            GO DADDY SOFTWARE INC
stickyload.com        GO DADDY SOFTWARE INC
stopsnore.com         GO DADDY SOFTWARE INC



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domain                 registrar
usellnow.com           GO DADDY SOFTWARE INC
webtop100.com          GO DADDY SOFTWARE INC
xxxchicas.com          GO DADDY SOFTWARE INC
nflspreads.com         HEBEI GUOJI MAOYI (SHANGHAI) LTD DBA HEIBEIDOMAINS.COM
hotposting.com         HICHINA WEB SOLUTIONS (HONG KONG) LIMITED
hotviewer.com          HICHINA WEB SOLUTIONS (HONG KONG) LIMITED
imsmall.com            HICHINA WEB SOLUTIONS (HONG KONG) LIMITED
oralmag.com            HICHINA WEB SOLUTIONS (HONG KONG) LIMITED
freedollz.com          HYPERSTREET.COM INC
smartflows.com         INAMES CO., LTD
beatmymeat.com         NAME.COM, INC
cheatslist.com         NAME.COM, INC
freedesires.com        NAME.COM, INC
toronja.com            NAME.COM, INC
gigglin.com            NAMEBREW LLC
qwikstart.com          NAMEPAL.COM #8018
fastaccept.com         NAMEPAL.COM, LLC
hugelot.com            NAMEPAL.COM, LLC
smartmoola.com         NAMEPAL.COM, LLC
biscocho.com           NAMEQUEEN.COM, INC
borracha.com           NAMEQUEEN.COM, INC
douches.com            NAMEQUEEN.COM, INC
pedorra.com            NAMEQUEEN.COM, INC
sueno.com              NAMEQUEEN.COM, INC
buyerslist.com         NAMESILO, LLC
quickfigure.com        NAMESILO, LLC
spewage.com            NAMESILO, LLC
camqueen.com           NAMESNAP LLC
mostxxx.com            NETWORK SOLUTIONS, LLC
nastycheerleader.com   NETWORK SOLUTIONS, LLC
gratisauto.com         ONLINENIC INC
varname.com            OPENNAME LLC
asswhoopin.com         PDR LTD. D/B/A PUBLICDOMAINREGISTRY.COM
bulkfast.com           PDR LTD. D/B/A PUBLICDOMAINREGISTRY.COM
readln.com             PDR LTD. D/B/A PUBLICDOMAINREGISTRY.COM
girlielove.com         PHEENIX 16, LLC
oilslicks.com          PHEENIX 40, LLC
gamblertv.com          PHEENIX. INC
pitos.com              PSI-USA, INC. DBA DOMAIN ROBOT
freecode.net           REBEL.COM CORP
carrogratis.com        REGISTER.IT SPA
blastus.com            SQUIDSAILERDOMAINS.COM, LLC
esclava.com            THIRDROUNDNAMES LLC
luvemail.com           TOP PICK NAMES LLC
suckaz.com             TOP TIER DOMAINS LLC
dailystud.com          TUCOWS DOMAINS INC
treatme.com            TUCOWS DOMAINS INC



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domain                registrar
beerbuzz.com          UNIREGISTRAR CORP
crazyshack.com        UNIREGISTRAR CORP
easyrates.com         UNIREGISTRAR CORP
glitches.com          UNIREGISTRAR CORP
growled.com           UNIREGISTRAR CORP
lovetowin.com         UNIREGISTRAR CORP
minty.com             UNIREGISTRAR CORP
nicetrucks.com        UNIREGISTRAR CORP
smartboost.com        UNIREGISTRAR CORP
spurts.com            UNIREGISTRAR CORP
ezhot.com             VISUALNAMES LLC
partnerships.me       WEST263 INTERNATIONAL LIMITED
cumwatchme.com        WILD WEST DOMAINS, LLC




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